






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00215-CR






Cedrick Hardin, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 2023015, HONORABLE JON N. WISSER, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Dismissed on Appellant's Motion

Filed:   July 29, 2004

Do Not Publish


